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 8                                  UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                       Case No. 2:09-CR-422-04 WBS
12                  Plaintiff,                       STIPULATION AND [PROPOSED]
                                                     ORDER REGARDING RULE 35 MOTION
13          v.                                       FOR REDUCTION OF SENTENCE FOR
                                                     DEFENDANT JEWEL MINOR
14   JEWEL MINOR,
15                  Defendant(s).
16

17

18          On December 12, 2011, Plaintiff United States of America, through undersigned counsel,

19   submitted a motion for downward departure pursuant to Rule 35(b) of the Federal Rules of

20   Criminal Procedure regarding defendant Jewel Minor, based upon her substantial assistance to the

21   government. That motion is currently set for hearing on January 30, 2012. On December 13,

22   2011, counsel for defendant Jewel Minor, attorney Donald Dorfman, advised the Government that

23   he had been in contact with his client, had advised her of the substance of the Government’s

24   motion, and that she had expressed that she wished the motion to proceed as quickly as possible,

25   and unopposed. To that end, Ms. Minor authorized Mr. Dorfman to waive her appearance at a

26   hearing on the matter and to waive the hearing altogether. Thus, the parties now stipulate and

27   agree that the Government’s motion should be granted as filed without hearing on the matter and

28   jointly request that the Court enter an order granting the motion, reducing Ms. Minor’s sentence


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 1   by 7 months, and directing the clerk to enter an amended judgment to effect the order.
 2   Dated: December 13, 2011                       Respectfully submitted,
                                                    BENJAMIN B. WAGNER
 3                                                  United States Attorney
 4
                                                    /s/ Jean M. Hobler
 5                                                  JEAN M. HOBLER
                                                    Assistant U.S. Attorney
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 7
     Dated: December 13, 2011
 8                                                  /s/ Jean M. Hobler for
                                                    DONALD DORFMAN
 9                                                  Attorney for Defendant JEWEL MINOR
10
                                                  ORDER
11

12           Pursuant to Rule 35(b) of the Federal Rules of Criminal Procedure, and for the reasons set
13   forth in the motion filed by the Government on December 12, 2011, and in the stipulation of the
14   parties, the Court finds as follows. The defendant, Jewel Minor, has provided substantial
15   assistance to the Government justifying a reduction in her sentence. That reduction shall be in the
16   amount of 7 months, reducing her prior term of 24 months incarceration to 17 months
17   incarceration. The remainder of her sentence is unchanged by this ruling. The clerk is ordered to
18   file an amended judgment and sentence and to vacate the currently set hearing date of January 30,
19   2012.
20           IT IS SO ORDERED.
21           Dated: December 15, 2011
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